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                     UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA,             )       CR. No. 14-10363-RGS
                                      )
                       Plaintiff      )
            v.                        )
                                      )
                                      )
MICHELLE THOMAS,                      )
                                      )
                       Defendant.     )
______________________________________)

    MOTION TO JOIN IN DEFENDANT KATHY CHIN’S MOTION IN LIMINE RE
UNCHARGED SHIPMENTS


     Defendant MICHELLE THOMAS, by and through her attorney of

record, respectfully moves this Honorable Court to allow her to join

in the legal arguments in Defendant Kathy S. Chin’s Motion In Limine

to Exclude Evidence of Uncharged Shipments, Docket No. 1564, filed on

September 12th, 2018. For all the reasons stated therein, Ms. THOMAS

requests that this Court exclude evidence of uncharged shipments as

applied to Ms. THOMAS.      Additionally, the issue is simply one of

prejudice. F.R.E. 403.

      This Honorable Court has previously stated:

     Rule 403 counsels the exclusion of evidence where its probative
     value is outweighed by the danger of prejudice. It is "the trial
     judge's job to avoid unfair prejudice." [United States v.]
     Morales-Aldahondo, 524 F.3d [115]120 [(1st Cir.2008)]; cf.
     Ferrier v. Duckworth, 902 F.2d 545, 548-549 (7th Cir. 1990)
     (habeas court critical of state court for admitting photographs
     of the victim's splattered blood, noting that "[t]he only
     conceivable reason for placing them in evidence was to inflame
     the jury")...


United States v. Cadden, 2017 U.S. Dist. LEXIS 16302




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Date: September 18, 2018                 Respectfully submitted,

                                           /S/ Michael C. Bourbeau

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                                         Attorney for Defendant
                                         MICHELLE THOMAS

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                                  Certificate of Service

I hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing (NEF) and
paper copies will be sent to those indicated as non registered participants on the above
date.
                                   S/ Michael C. Bourbeau




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